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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               FT. WORTH DIVISION


  ROBERT (BOB) ROSS                             §
  Plaintiff,                                    §
                                                §
                                                §
                                                §
                                                §
                                                §      Case No. 4:22-CV-00343
                                                §
  V.                                            §
                                                §
  ASSOCIATION OF                                §
  PROFESSIONAL FLIGHT                           §
  ATTENDANTS, MCGAUGHEY,                        §
  REBER AND ASSOCIATES, INC.,                   §
  JULIE HEDRICK, AND ERIK                       §
  HARRIS,                                       §
  Defendants.                                   §




                         CERTIFICATE OF INTERESTED PERSONS

I hereby certify that on or before date, I caused two copies of the following set of pleadings to be

served by First Class Mail / Postage Prepaid / Certified Mail / Return Receipt Requested 7021

0350 0002 1333 6570 to McGaughey, Reber and Associates, Inc. “Diversified Credit Systems,”

by serving its Registered Agent: M S. McGaughey located at 2200 Jahan Trail, Longview, Texas

75604, to Michael R. Rake, Attorney at Law, PLLC at P.O. Box 1556, Lake Dallas, TX 75065 by

First Class Mail/ Postage Prepaid / Certified Mail / Return Receipt Requested 7021 0350 0002

1333 5481, to the Association of Professional Flight Attendants, by serving its National President,


Certificate of Service
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Julie Hedrick at APFA headquarters at 1004 W. Euless Blvd, Euless, Texas 76040 by First Class

Mail / Postage Prepaid / Certified Mail / Return Receipt Requested 7021 0350 0002 1333 6495, to

Julie Hedrick at her place of employment APFA Headquarters located at 1004 W. Euless Blvd,

Euless, Texas 76040 via by First Class Mail / Postage Prepaid / Certified Mail / Return Receipt

Requested 7021 0350 0002 1333 5474, and to Erik Harris at his place of employment APFA

Headquarters located at 1004 W. Euless Blvd, Euless, Texas 76040 by First Class Mail / Postage

Prepaid / Certified Mail / Return Receipt Requested 7021 0350 0002 1333 5498 with the following

documents:




 Original Complaint.




Executed on:             April 20, 2022

                                               Respectfully submitted,
                                                 KD PHILLIPS LAW FIRM, PLLC


                                                 By: /s/ Kerri Phillips
                                                      Kerri Phillips
                                                      Texas Bar No. 24065906
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                                                      ATTORNEYS FOR PLAINTIFF




Certificate of Service
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